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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


DEPUY SYNTHES PRODUCTS, INC. and)
DEPUY SYNTHES SALES, INC.,      )                       Case No. 3:18-CV-01342-HES-
                                )                       PDB
               Plaintiffs,      )
                                )
          v.                    )
                                )
VETERINARY ORTHOPEDIC IMPLANTS,
INC., SYNTEC SCIENTIFIC         )
CORPORATION, and FIDELIO        )
CAPITAL AB,                     )
                                )
               Defendants.


    DEFENDANTS’ MOTION TO STRIKE, OR IN THE ALTERNATIVE,
 TO SEAL UNDER LOCAL RULE 1.11, AND MEMORANDUM IN SUPPORT

      Defendants Veterinary Orthopedic Implants, Inc. (“VOI”) and Fidelio Capital

AB (“Fidelio”) respectfully request the Court strike the motion to seal and its

attachments (ECF 642), filed by non-parties Claude Gendreau and The Claude

Gendreau Investment Trust u/a/d March 16, 2013 (collectively, “Gendreau”), or

alternatively, grant the Defendants’ motion to seal.1




1
  Defendants’ understanding is that non-party Gendreau’s proposed motions to
intervene and on the scope of mediation confidentiality, attached as exhibits to the
sealing motion but not otherwise filed on the docket, are not yet properly filed and
served, and therefore are not yet ripe for response. Defendants disagree with much in
those proposed motions (on which Gendreau did not attempt to meet and confer), and
respectfully reserve the right to respond to those proposed motions when they are ripe.
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                            MEMORANDUM IN SUPPORT

       This Court should strike Gendreau’s sealing motion. Gendreau failed to meet

and confer with any of the parties prior to filing his motion, in violation of Local

Rule 3.01(g). Nor has he met and conferred on the two proposed motions he attached

to his sealing motion. Had he done so, Defendants would have objected to Gendreau’s

use of mediation-privileged information in his filings and explained that he could make

his proposed motions without including the privileged information, obviating the need

for sealing. This Court should strike ECF 642 in its entirety; direct Gendreau to

comply with Local Rule 3.01(g); and direct him to refile his proposed motions without

including mediation-privileged information.

       If this Court declines to strike ECF 642 and its attachments, then this Court

should grant Defendants’ sealing motion and seal ECF 642-1; 642-4; 642-6; 642-7; 642-

10; 642-13; 642-14; and 642-15. DePuy (the Plaintiff in this case), Defendants, and

Gendreau all agree that non-party Gendreau’s proposed motions include information

that DePuy and Defendants believe is covered by the mediation privilege.2 No

presumption of public access applies to such materials, particularly when filed in a

fully resolved, closed case. And protecting a privilege, including while the scope of

the privilege is litigated, justifies sealing.



2
  Counsel for DePuy has authorized Defendants to represent to this Court that
DePuy’s position continues to be that the January 5, 2023 communications are subject
to the mediation privilege and should be sealed to the extent they remain on the docket.
DePuy does not oppose Defendants’ motion to strike.


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                            FACTUAL BACKGROUND

      A. The Patent Litigation in This Court

      On November 12, 2018, DePuy Synthes Products, Inc. and DePuy Synthes

Sales, Inc. (collectively, “DePuy”) filed this Patent Litigation against VOI. ECF 1.

DePuy alleged that VOI willfully infringed DePuy’s patents. Id.

      Gendreau founded VOI and was VOI’s majority owner and controlling

shareholder when the Patent Litigation was filed. He is not a party to this case.

      In June 2020, Gendreau and his co-owners, including his nephew Patrick

Gendreau, sold VOI to a Fidelio affiliate. Gendreau and his co-owners were paid

about $100 million for their VOI shares.

      Key to the transaction, Gendreau and the other sellers agreed to indemnify VOI

and its affiliates (including Fidelio and other entities) for any damages connected to

the Patent Litigation, up to the $100 million purchase price. In exchange, Gendreau

and the other sellers retained control of VOI’s defense of the Patent Litigation.

      In January 2023, a jury found that VOI willfully infringed DePuy’s patents

causing $59.5 million in damages, and found Fidelio liable as well. With post-trial

motions pending (including to treble damages), DePuy and Defendants settled this

case for $70 million. Gendreau and the other sellers approved the settlement.

      B. The Indemnification Litigation

      Following the settlement, VOI and Fidelio demanded indemnity, but Gendreau

and the other sellers refused. VOI and two of its affiliates brought suit in Delaware to

enforce their contractual indemnification rights (“Indemnification Litigation”).

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      The other sellers have since agreed to pay the entirety of their portion of the $70

million    settlement.         Vimian      Press       Release     (June     11,   2024),

https://tinyurl.com/3p6umkjh;       Vimian     Press     Release     (Feb.   26,   2024),

https://tinyurl.com/yc6x43fd. Only Gendreau still refuses to meet his indemnity

obligations.

      C. Gendreau’s Effort To Obtain and Use Mediation-Privileged Information

      In an attempt to escape his indemnification obligations, Gendreau has asserted

meritless counterclaims and defenses in the Indemnification Litigation. Among them,

he claims that Defendants breached their contractual obligations to Gendreau by

usurping his right to control settlement of the Patent Litigation.

      To support this meritless claim, Gendreau sought to discover documents and

information related to all settlement discussions in the Patent Litigation, including

those related to a mediation ordered by this Court and overseen by Judge Barksdale.

      The Delaware court consistently refused to permit discovery into documents

and information that might be covered by this Court’s mediation privilege. Instead,

the Delaware court repeatedly told Gendreau that for any documents or information

potentially covered by this Court’s mediation privilege, he should seek relief from this

Court. ECF 642-5, at 4; ECF 642-6, at 5-7.

      The only items still in dispute are communications between the parties in this

case related to a purported January 5, 2023 settlement proposal. ECF 642-7, at 3-4.

      DePuy and Defendants agree that these communications are privileged because

they were part of the court-ordered mediation process before Judge Barksdale, which

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began in November 2022 and continued until the jury verdict on January 13, 2023. As

Defendants will explain in more detail at the appropriate time, the record in this case

amply supports the conclusion that the communications related to the January 5, 2023

proposal were part of the mediation process.

      D. Gendreau’s Motion To Seal

      On July 10, 2024, in violation of Local Rule 3.01(k), Gendreau emailed Judge

Barksdale seeking a “determination as to whether documents relating to the January 5,

2023 [communications] relate to the substance of the settlement conference.” Ex. 1,

at 2; Ex. 2. Judge Barksdale declined to provide a determination outside the context

of a pending case.

      Without notice to any of the parties in this case, and without any attempt to

meet and confer in good faith, Gendreau filed his sealing motion, and attached a

proposed motion to intervene in this case. ECF 642; ECF 642-1. Gendreau also filed,

as an attachment to the proposed motion to intervene, a further proposed motion for

clarification of the scope of mediation confidentiality. ECF 642-7. Neither the motion

nor the attached proposed motions include a Local Rule 3.01(g) Certification.

      Gendreau’s filings include information that DePuy and Defendants believe is

subject to mediation confidentiality. E.g., 642-1, at 4; 642-7, at 3.

                                     ARGUMENT

I.    The Court Should Strike Gendreau’s Motion and Its Attachments

      Courts have “the inherent power” to “strike a non-compliant motion or other

filing.” Durso v. Summer Brook Preserve Homeowners Ass’n, 641 F. Supp. 2d 1256, 1261

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(M.D. Fla. 2008); see also Jones v. United Space Alliance, LLC, 170 F. App’x 52, 57 (11th

Cir. 2006) (affirming strike for failure to comply with local rules).

      This Court should strike Gendreau’s motion because (1) Gendreau failed to

comply with Local Rule 3.01(g)’s good faith conferral requirement; and (2) Gendreau

can seek relief without using DePuy’s and Defendants’ privileged information,

obviating the need to seal.

      First, Local Rule 3.01(g) is “strictly enforced.” See Unlimited Resources Inc. v.

Deployed Resources, LLC, 2009 WL 1370794, at *1 (M.D. Fla. May 14, 2009) (quoting

Middle District Discovery (2001) at 20) (granting a motion to strike a motion filed with

the other party’s confidential information and filed in violation of Rule 3.01(g)). The

Local Rule requires meaningful, good faith conferral to resolve the dispute without the

need for judicial intervention. E.g., id. This rule has particular salience when the

proposed motion is unnecessary; the responding party “should [be] presented with an

opportunity to resolve the issues raised by the motion” by pointing out obvious ways

to avoid motion practice. See Lennen v. Marriott Ownership Resorts, Inc., 2019 WL

13023804, at *3 (M.D. Fla. Sept. 16, 2019) (citation omitted).

      Gendreau never informed Defendants or DePuy that he intended to file a

motion to seal, nor that he intended to file the proposed motions attached thereto. Nor

does he include a Local Rule 3.01(g) Certification with either the motion or proposed

motions.

      Second—and as Defendants would have told Gendreau had he asked—there is

no reason for Gendreau to include privileged information in his proposed motions.

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Local Rule 1.11(b)(3) requires a showing that filing the sealed material “is necessary”

and that “a means other than sealing is unavailable or unsatisfactory.” Gendreau fails

to meet these burdens.

      Gendreau intends to ask this Court whether communications between the

parties to this case (i.e., DePuy and Defendants) on January 5, 2023 are subject to

mediation privilege.     But there is no reason to include the substance of the

communications in the motions. As in many cases involving privilege disputes, the

parties can establish the communications’ status through the circumstances around

them or describing them at a high level, as in a privilege log; or, if the Court concluded

it would benefit from seeing the communications, could submit them in camera. For

example, DePuy and Defendants agree that the communications occurred based on

Judge Barksdale’s earlier engagement and with the expectation that Judge Barksdale

would participate again—which Judge Barksdale then did on multiple days of the trial.

The non-privileged evidence, including statements made on the trial record, will bear

that out. Whether such communications are privileged does not turn, in this case, on

the communications’ substance.        Indeed, Gendreau’s first attempt to obtain a

determination from Judge Barksdale on this matter—his July 10, 2024 letter in

violation of Local Rule 3.01(k)—explained the same grounds for relief without

repeating the substance of the privileged communications at all. Ex. 1.

      Striking is an appropriate remedy when the movant fails to confer in accordance

with Local Rule 3.01(g). See, e.g., Unlimited Resources Inc., 2009 WL 1370794, at *1;

Real Estate Indus. Sols., LLC v. Concepts in Data Mgmt. U.S., Inc., 2011 WL 13141168, *3

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(M.D. Fla. Aug. 19, 2011). Striking is also the appropriate remedy when a party

includes mediation-protected information in the court record. Martin v. Automobili

Lamborghini Exclusive, Inc., 2000 WL 36745511, at *5 (S.D. Fla. 2000) (explaining that

the court “has no choice” but to strike a motion to enforce a settlement agreement,

because the mediation communications the party sought to submit are “absolutely

privileged and inadmissible” and “cannot be submitted or disclosed to the Court”),

report and recommendation adopted, 2000 WL 36745509 (S.D. Fla. June 15, 2000); United

States v. Planes, 2019 WL 3024895, at *13 (M.D. Fla. July 11, 2019); Sewalk v. Valpak

Direct Marketing Sys., LLC, 2022 WL 4079589, at *2 (M.D. Fla. Sept. 6, 2022).

      Where, as here, a movant filed mediation-protected information without

conferring with any of the parties to the case, striking is the remedy that sufficiently

protects the interests of the parties with whom Gendreau failed to confer. The Court

should strike Gendreau’s motion and exhibits without prejudice to refiling without the

purported January 5 proposal.

II.   Alternatively, the Court Should Seal the Documents Containing Mediation-
      Privileged Information

      When evaluating whether to seal a filing, courts balance the public right of

access to judicial records with private interests in confidentiality. Chicago Tribune Co.

v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1313 (11th Cir. 2001).

      If the Court declines to strike the sealing motion, then this Court should grant

Defendants’ alternative motion and permanently seal ECF 642-1; 642-4; 642-6; 642-7;




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642-10; 642-13; 642-14; and 642-15,3 each of which contains the privileged mediation

communications. The presumption of public access does not apply to these materials.

And protecting an asserted privilege is an appropriate basis for sealing that overcomes

any common-law right of access.

      First, the common-law right of access does not apply to mediation materials,

even when they are filed in connection with non-substantive motions such as

Gendreau’s two proposed motions. The Eleventh Circuit has made clear that not

every document filed with a motion is subject to the common-law presumption of

public access. In Chicago Tribune, for example, the court of appeals distinguished

between “discovery material filed in connection with … motions that require judicial

resolution of the merits” of a case, which are subject to the common-law right; and

“material filed with discovery motions” such as motions to compel, which are not. Id.

at 1312. In other words, non-public materials, for which there is no preexisting right

of access, “do not automatically qualify as judicial records subject to the common-law

right of access” just because they are filed with a court. Callahan v. United Network for

Organ Sharing, 17 F.4th 1356, 1362 (11th Cir. 2021); Comm’r, Ala. Dep’t of Corrs. v.

Advance Local Media, LLC, 918 F.3d 1161, 1167 (11th Cir. 2019) (“The mere filing of a

document does not transform it into a judicial record.”). Private material becomes a


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  Gendreau did not file ECF 642-6 and 642-13 under seal. These entries are a special
magistrate decision in the Indemnification Litigation, which contains one sentence
repeating privileged information. Gendreau does not oppose sealing these documents.
Defendants have also requested the Delaware court redact the relevant sentence to
preserve its confidentiality.


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 judicial record only when it is filed in connection with a “substantive” motion, which

 is one asking “the court to invoke its powers or affects its decisions.” Callahan, 17

 F.4th at 1362 (quoting Romero v. Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007)).

 The Eleventh Circuit has “faithfully adhered to this rule—without exception.” Id.

       The public has no right of access to privileged materials, United States v. Noriega,

 917 F.2d 1543, 1548 (11th Cir. 1990), including mediation communications protected

 by Local Rule 4.03(g), see E.E.O.C. v. Northlake Foods, Inc., 411 F. Supp. 2d 1366, 1367-

 68 (M.D. Fla. 2005) (involving the Local Rule’s predecessor). Prior to Gendreau’s

 motion, the mediation communications were wholly confidential, and no party could

 invoke the public right of access to obtain them.

       Gendreau’s proposed motions do not change that calculus. They are not

 substantive motions that ask this Court to resolve the merits of the case or to invoke

 its powers. Gendreau is not a party to this case. The case is closed, and has been fully

 resolved. The proposed motions seek to intervene for the limited purpose of seeking

 clarification of this Court’s mediation privilege. Neither intervention nor clarification

 of the mediation privilege implicates “the merits” of this closed case. If discovery

 material attached to motions to compel is not subject to the common-law right of

 access, there is no reason privileged mediation communications filed solely for the

 purpose of resolving a dispute over that very privilege would be subject to the right.

       Second, even if the public right of access applied, courts routinely find that

 sealing is appropriate where the filing includes privileged material. See, e.g., Nat’l

 Sourcing, Inc. v. Bracciale, 2017 WL 5899202, at *2 (M.D. Fla. Nov. 30, 2017)

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 (collecting cases); So.-Owners Ins. Co. v. MAC Contractors of Fla., LLC, 2023 WL

 3111291, at *1 (M.D. Fla. Apr. 24, 2023). That is true even when the assertion of

 privilege is in dispute. In such a case, “the protection afforded by the … privilege

 should not be lost in the process of making th[e] determination” whether the privilege

 applies. U.S. ex rel. Baklid-Kunz v. Halifax Hosp. Med. Ctr., 2013 WL 1233699, at *2

 (M.D. Fla. Mar. 27, 2013).

       Here, DePuy, Defendants, and Gendreau all agree that Gendreau’s filings

 contain information that DePuy and Defendants claim is privileged. The parties’

 interest in protecting that privilege far outweighs any public right of access. That is

 particularly true where, as here, “the party filing the presumptively confidential …

 material with the court is not the party claiming confidentiality, but that party’s

 adversary.” See Chicago Tribune, 263 F.3d at 1315 n.15.

                              Local Rule 1.11(b) Checklist

           1) Title: The title of the Motion to Seal is reflected in this filing;

           2) Description of Items: The items sought to be sealed (642-1; 642-4; 642-6;

              642-7; 642-10; 642-13; 642-14; 642-15) reflect privileged mediation

              communications related to a mediation overseen by Judge Barksdale.

           3) Necessity of Filing Sealed Items: Per Defendants’ motion to strike,

              Defendants do not believe the privileged mediation communications are

              necessary to the Court’s resolution of Gendreau’s proposed motions.

              However, if this Court denies the motion to strike, then the material will

              have been found necessary to Gendreau’s motions.

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          4) Legal Memorandum: See above.

          5) Duration of Seal: The seal should be permanent, due to the permanent

             nature of the mediation privilege at issue.

          6) Identification of Counsel: Undersigned counsel is authorized to retrieve

             the materials.

          7) Interested Persons: None known, other than Gendreau and the parties to

             this litigation who have been served by ECF.

          8) Inclusion of Items: The items sought to be sealed are on the docket at

             ECF 642-1; 642-4; 642-6; 642-7; 642-10; 642-13; 642-14; and 642-15.

                                  CONCLUSION

       The Court should strike Gendreau’s motion to seal, or alternatively grant

 Defendants’ motion to seal.




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                             Local Rule 3.01(g) Certification

           On August 8, 2024, counsel for VOI and Fidelio conferred with counsel for

 Gendreau via videoconference as well as several follow-up emails. Gendreau opposes

 the motion to strike, and does not oppose the alternative motion for sealing. Counsel

 for VOI has also conferred with counsel for DePuy, who has authorized Defendants

 to represent to this Court that DePuy’s position continues to be that the January 5,

 2023 communications are subject to the mediation privilege and should be sealed to

 the extent they remain on the docket. DePuy does not oppose Defendants’ motion to

 strike.



 Date: August 9, 2024

                                         Respectfully submitted,

                                         AKERMAN LLP

                                         By: /s/ Cindy A. Laquidara

                                         Cindy A. Laquidara
                                         Florida Bar No.: 394246
                                         Email: cindy.laquidara@akerman.com
                                         William C. Handle
                                         Florida Bar No. 1002425
                                         Email: william.handle@akerman.com
                                         50 North Laura Street, Suite 3100
                                         Jacksonville, FL 32202
                                         Telephone: (904) 798-3700
                                         Facsimile: (904) 798-3730


                                         WILLIAMS & CONNOLLY LLP
                                         R. Kennon Poteat III (pro hac vice forthcoming)


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                                   District of Columbia Bar No.: 983775
                                   Email: kpoteat@wc.com
                                   Ilana B. Frier (pro hac vice forthcoming)
                                   District of Columbia Bar No.: 90012662
                                   Email: ifrier@wc.com
                                   680 Maine Ave, SW
                                   Washington, DC 20024
                                   Tel.: (202) 434-5000




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                            CERTIFICATE OF SERVICE

 I hereby certify that on August 9, 2024, I caused the foregoing motion to be filed

 electronically with the Clerk of Court by using the Court's CM/ECF system, thereby

 serving this document on all parties of record in this case.

                                          /s/ Cindy A. Laquidara
                                          Cindy A. Laquidara, Esq.




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